                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

CAMBRIDGE CHRISTIAN SCHOOL,
INC.,

       Plaintiff,

v.                                                             Case No: 8:16-cv-2753-T-36AAS

FLORIDA HIGH SCHOOL ATHLETIC
ASSOCIATION, INC.,

      Defendant.
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                                           ORDER

       This cause comes before the Court upon the Report and Recommendation filed by

Magistrate Judge Amanda Arnold Sansone on February 3, 2017 (Doc. 50). The Magistrate Judge

recommends dismissal of Plaintiff Cambridge Christian School, Inc.’s (“Cambridge Christian”)

Verified Amended Complaint (Doc. 8) and denial of Cambridge Christian’s Motion for

Preliminary Injunction (Doc. 9).      All parties were furnished copies of the Report and

Recommendation and were afforded an opportunity to file objections pursuant to 28 U.S.C. §

636(b)(1). Cambridge Christian filed an Objection (Doc. 55) to which Defendant Florida High

School Athletic Association, Inc. (“FHSAA”) responded (Doc. 56).

       Upon consideration of the Report and Recommendation, this Court’s independent

examination of the file de novo, and a review of Cambridge Christian’s Objection and the response

thereto, it is determined that the Report and Recommendation should be adopted, confirmed, and

approved.
          I.     BACKGROUND

          The FHSAA is the nonprofit, governing organization for athletics in Florida’s public

schools. § 1006.20(1), Fla. Stat. (2016). It is a state actor. Private schools that wish to participate

in high school athletic competitions with public high schools are permitted to become members of

the FHSAA. Id. Cambridge Christian, whose athletic teams are referred to as the “Lancers”, is an

independent, co-educational, private Christian school that participates in the FHSAA. Doc. 8 ¶¶

10, 15, 25. The school has the religious mission “[t]o glorify God in all that [it does]; to

demonstrate excellence at every level of academic, athletic, and artistic involvement; to develop

strength of character; and to serve the local and global community.” Doc. 8 ¶ 11. Cambridge

Christian’s athletic department also has a mission statement, which states: “The Cambridge

Christian School Athletic Department’s chief end is to glorify Christ in every aspect of [its] athletic

endeavors while using the platform of athletics to: Teach the Principles of Winning; Exemplify

Christian Morals and Values in [its] Community; Achieve Maximum Physical, Moral and Spiritual

Character Development; and Mentor Young Men and Women to Deeper Walk with Jesus.” Doc.

8 ¶ 14.

          As alleged in its Verified Amended Complaint, “[b]y long-standing tradition, Cambridge

Christian student-athletes, their parents, and fans are led in prayer by a parent or student or member

of the school faculty or administration before every Cambridge Christian sporting event.” Doc. 8

¶ 16. They do so through use of its loudspeaker during home games, as well as at away games

“when possible,” and have done so in connection with Cambridge Christian’s football program

since it was founded in 2003. Doc. 8 ¶¶ 16-17. Use of the loudspeaker “allows the Cambridge

Christian community to come together in prayer,” which is not otherwise possible due to the size

of the sports venues. Doc. 8 ¶ 18.



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         During the 2015 football season, Cambridge Christian’s football team succeeded in

qualifying as a finalist for the FHSAA 2A division playoffs, competing against University

Christian School, which has a similar mission and tradition of prayer to that of Cambridge

Christian’s. Doc. 8 ¶¶ 31, 34. This championship game was to be held at the Camping World

Stadium (the “Stadium”) in Orlando, Florida.1 Doc. 8 ¶ 2. Prior to the championship game,

Cambridge Christian participated in a conference call with the FHSAA and, together with

University Christian School, requested to use the Stadium’s loudspeaker “to lead their attending

students, families, and fans in a joint pre-game prayer.” Doc. 8 ¶ 38. Cambridge Christian

indicated that the FHSAA allowed it and another Christian school to pray over the Stadium

loudspeaker prior to the 2012 championship game. Id. The FHSAA denied the request. Doc. 8 ¶

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         Following the conference call, Cambridge Christian’s Head of School, Tim Euler, e-mailed

the executive director of the FHSAA, Roger Dearing, requesting that Cambridge Christian be

allowed to “honor their Lord before the game and pray” over the Stadium’s loudspeaker. Doc.8

Ex. C-1. Mr. Euler advised that he or the pastor from University Christian School would be willing

to “lead the fans, players, and coaches in prayer,” and stated that he “d[id] not believe, with two

Christian Schools playing,” that his request was “unreasonable.” Doc. 8 Ex. C-1. The Head of

School for University Christian School echoed this request. Doc. 8 Ex. C-2.

         After consulting with the FHSAA’s legal counsel, Dr. Dearing responded to the Heads of

Schools, informing them that he could not permit the schools to use the loudspeaker to pray. Doc.

8 Ex. D. His reasoning included that: (1) because the Stadium is a public facility, it was “off




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    The Stadium is also known as the Orlando Citrus Bowl.
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limits”; and (2) the FHSAA is a state actor that could not “legally permit or grant permission for”

prayer over the loudspeaker. Doc. 8 Ex. D.

       The championship game was held on December 4, 2015, with approximately 1,800 people

in attendance. Doc. 8 ¶ 45. Before the game began, Cambridge Christian and University Christian

School met at the 50-yard line to pray together. Doc. 8 ¶ 50. The prayer was not permitted to be

broadcast over the loudspeaker and, because of this, the prayer was not audible to those in

attendance. Doc. 8 ¶ 52. According to Cambridge Christian, the denial of use of the loudspeaker

prevented “the students, parents, and fans in attendance the right to participate in the players’

prayer or to otherwise come together in prayer as one Christian community.” Id.

       Nonetheless, other speech was not prohibited inside the Stadium. For instance, messages

promoting corporate sponsors of the FHSAA were displayed along the perimeter of the field and

displayed on the Stadium’s video screen. Doc. 8 ¶¶ 46-47. In addition, such messages were

announced over the Stadium’s loudspeaker. Doc. 8 ¶ 48. At halftime, cheerleaders for Cambridge

Christian and University Christian School performed shows, and utilized the loudspeaker to

broadcast music for their respective performances. Doc. 8 ¶¶ 53-54. The music played by

Cambridge Christian was chosen by the school, and originated from the cheerleading coach’s

smart phone. Doc. 8 ¶ 54.

       After the championship game, Dr. Dearing e-mailed a second response to the Heads of

Schools, indicating that the Establishment Clause of the First Amendment to the United States

Constitution prevented the government from engaging in activities that could be viewed as

endorsement or sponsorship of religion. Doc. 8 Ex. E. Dr. Dearing advised that allowing the

schools to use the loudspeaker would be contrary to jurisprudence prohibiting schools from giving

the impression of endorsing religion by allowing prayer over a public-address system. Doc. 8 Ex.



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E. He further noted that Cambridge Christian and University Christian School were permitted,

both before and after the football game, to pray. Doc. 8 Ex. E.

       In addition, following the championship game, the FHSAA issued a statement regarding

prayer over public-address systems. Doc. 8 Ex. F. The FHSAA advised that Cambridge Christian

and University Christian school had requested to use the system for prayer, and stated that it denied

the request pursuant to Florida and United States Supreme Court law, but “presented alternative

options for team prayers, including on-field prayer,” which was accepted by the schools, resulting

in the teams participating “in a personally lead [sic] on-field organized prayer prior to and

following” the championship game. Doc. 8 Ex. F. It further explained that the FHSAA, “as host

and coordinator of the event, is statutorily a ‘State Actor’, and according to state and federal law,

cannot legally permit or grant permission for the requested activity over the PA system.” Doc. 8

Ex. F. This policy forms the basis for Cambridge Christian’s claims in this action.

       Additionally, the FSHAA Administrative Procedure, established by its Executive Director,

includes a provision governing the “Public Address Protocol” during the state championship series.

Doc. 8 Ex. A. The provision states that the announcer “shall be considered a bench official for all

Florida High School State Championship Series Events,” who “will follow the FHSAA script for

promotional announcements, which are available from this association, player introductions and

award ceremonies.” Doc. 8 Ex. A. Other announcements over the public address system are

limited to those delineated by the provision, which includes “[t]hose of a ‘practical’ nature (e.g.,

announcing that a driver has left his/her vehicle lights on),” and “[m]essages provided by host

school management.” Doc. 8 Ex. A.

       Based on the FHSAA’s denial of its request to use the loudspeaker for prayer, and believing

that the FHSAA’s policy will affect it in the future, Cambridge Christian filed a seven-count



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Amended Verified Complaint. In Count I, Cambridge Christian alleged that the FHSAA’s conduct

constituted impermissible content-based and viewpoint-based discrimination, denying its right to

freedom of speech and placing a substantial burden on its sincerely held religious beliefs in

contravention of the First Amendment. Doc. 8 ¶¶ 60-72. In Count II, Cambridge Christian sought

declaratory relief regarding whether the FHSAA’s policy prohibiting religious speech over the

loudspeaker violated Cambridge Christian’s rights to freedom of religious exercise and freedom

of speech.   Doc. 8 ¶¶ 73-81.      Count III also sought declaratory relief as to whether the

Establishment Clause requires the FHSAA to prohibit prayer over the loudspeaker. Doc. 8 ¶¶ 82-

90. Counts IV through VI mirrored the previous counts, except that they were raised under the

Florida Constitution’s Establishment Clause and guarantees of freedom of religion and speech.

Doc. 8 ¶¶ 91-121. Finally, Count VII alleged a violation of section 761.03, Florida Statutes, which

is Florida’s Religious Freedom Restoration Act, because the FHSAA’s conduct intentionally

placed a substantial burden on Cambridge Christian’s sincerely held religious beliefs in the

absence of any legitimate government interest and in a manner that was not narrowly tailored to

the least restrictive means of furthering such interest. Doc. 8 ¶¶ 122-27.

       Cambridge Christian filed the instant motion for preliminary injunction to enjoin the

FHSAA from enforcing its policy of prohibiting religious speech over a loudspeaker during

FHSAA-sponsored games.        Doc. 9. The FHSAA moved to dismiss the Verified Amended

Complaint with prejudice pursuant to Federal Rule of Civil Procedure 12(b)(6), alleging that

Cambridge Christian could not state any claim for relief.2 Doc. 26. The FHSAA also opposed

Cambridge Christian’s application for a preliminary injunction. Doc. 25.



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  The FHSAA also moved to dismiss the Verified Amended Complaint under Federal Rule of Civil
Procedure 12(b)(1), arguing that no First Amendment violation occurred that would constitute an
injury-in-fact and Cambridge Christian, therefore, lacked standing. The Magistrate Judge
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       II.     Standard

       When a party makes a timely and specific objection to a Magistrate Judge’s Report and

Recommendation, the district judge “shall make a de novo determination of those portions of the

report or specified proposed findings or recommendations to which objection is made.” 28 U.S.C.

§ 636(b)(1)(C); Jeffrey S. v. State Bd. of Educ. of State of Ga., 896 F.2d 507, 512 (11th Cir. 1990).

With regard to those portions of the Report and Recommendation not objected to, the district judge

applies a clearly erroneous standard of review. See Gropp v. United Airlines, Inc., 817 F. Supp.

1558, 1562 (M.D. Fla. 1993). The district judge may accept, reject, or modify in whole or in part,

the Report and Recommendation of the Magistrate Judge. Fed. R. Civ. P. 72. The district judge

may also receive further evidence or recommit the matter to the Magistrate Judge with further

instructions. Id.

       III.    Discussion

       Cambridge Christian objects to the Report and Recommendation (“R&R”) for the

following reasons: (1) the Magistrate Judge erred in recommending dismissal of its claims under

the First Amendment’s Speech Clause (Counts I-II), and the Florida constitutional corollaries

(Counts IV-V), because it incorrectly concluded that the Public-Address Protocol allowed only the

FHSAA announcer to use the loudspeaker and impermissibly ignored Cambridge Christian’s well-

pleaded allegations that the FHSAA denied Cambridge Christian access to the loudspeaker based

on its religious viewpoint; (2) the Magistrate Judge erred in recommending dismissal of its Free

Exercise Clause claim (Counts I-II), and the corollary claim under the Florida Constitution (Counts

IV-V) because it ignored that communal prayer is an essential part of Cambridge Christian’s




recommended that Cambridge Christian sufficiently alleged an injury-in-fact. There is no
objection to this recommendation.
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religious practices; (3) the Magistrate Judge erred in recommending dismissal of its request for

declaratory relief that neither the Establishment Clause nor the equivalent Florida Constitutional

provision require the FHSAA to prohibit prayer from the loudspeaker (Counts III and VI) because

Cambridge Christian’s prayer would constitute private speech; (4) the Magistrate Judge erred in

recommending its claim under the Florida Religious Freedom Restoration Act (“Act”) be

dismissed because by denying Cambridge Christian use of the Stadium’s loudspeaker, the FHSAA

substantially burdened Cambridge Christian’s religious exercise without any compelling state

interest or demonstrating that it adopted the least restrictive means of achieving that interest; and

(5) the Magistrate Judge erred in recommending that the Court deny its motion for preliminary

injunction because it demonstrated a substantial likelihood of success on the merits, a substantial

threat of irreparable injury, that the injury outweighs any threatened harm of the injunction to the

FHSAA, and granting the preliminary injunction will not disserve the public interest. Doc. 55.

Upon de novo review, the Court agrees with the conclusions in the R&R.

               A.      The First Amendment3

       The Establishment and Free Exercise Clauses of the First Amendment to the United States

Constitution prohibit Congress from making any “law respecting an establishment of religion,” or

“prohibiting the free exercise thereof,” respectively. The First Amendment also contains the Free

Speech Clause, which prohibits Congress from making any law “abridging the freedom of speech.”

Although the First Amendment explicitly applies to the actions of Congress, the due process clause




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  The parties agree that Cambridge Christian’s claims under the Florida Constitution, Counts IV-
VI, are analyzed consistent with the claims made under the First Amendment to the United States
Constitution, Counts I-III. Cambridge Christian’s objections to the recommendation that its
Florida constitutional claims be dismissed are identical to its objections to the recommendation
that its First Amendment claim be dismissed. The Florida constitutional claims, therefore, will not
be separately addressed.
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of the Fourteenth Amendment renders it equally applicable to the States. 44 Liquormart, Inc. v.

Rhode Island, 517 U.S. 484, 489 n.1, 116 S. Ct. 1495, 1501 n.1, 134 L. Ed. 2d 711 (1996).

               1.      The Free Speech Clause.

       The Free Speech Clause applies to government regulation of private speech. Pleasant

Grove City, Utah v. Summum, 555 U.S. 460, 467 (2009) (citing Johanns v. Livestock Marketing

Ass’n., 544 U.S. 550, 553, 125 S. Ct. 2055, 161 L. Ed. 2d 896 (2005). It does not, however, apply

to the government’s own expressive conduct. Id. Instead, the government “has the right to ‘speak

for itself,’ ” id. (quoting Board of Regents of University of Wisconsin System v. Southworth, 529

U.S. 217, 229, 120 S. Ct. 1346, 146 L. Ed. 2d 193 (2000)), and may “say what it wishes,” id.

(quoting Rosenberger v. Rector and Visitors of University of Virginia, 515 U.S. 819, 833, 115 S.

Ct. 2510, 132 L. Ed. 2d 700 (1995)). This is not curtailed by the fact that the government “receives

assistance from private sources for the purpose of delivering a government-controlled message.”

Id. Government speech must, nonetheless, comport with the Establishment Clause. Id. Here, the

FHSAA seeks dismissal because announcements over the Stadium loudspeaker are government

speech and the Public Address Protocol is a neutral policy that avoids state entanglement with

religion. Cambridge Christian disagrees, claiming that the prayer would be private speech.

       Where the government is not the speaker, but instead supplies a forum where speech is

conducted, the First Amendment and its Free Speech Clause do apply, and the degree of control

that the government may exert over access to the forum depends on whether the forum is a public,

designated public, limited public, or non-public forum.4 Cornelius v. NAACP Legal Def. & Educ.



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  A public forum is a place where, traditionally, there exists a free exchange of ideas. Cornelius,
473 U.S. at 800. Cornelius, 473 U.S. at 800. A designated public forum is one that is not
traditionally public, but that the government has designated for such activities. Int’l Soc’y for
Krishna Consciousness, Inc. v. Lee, 505 U.S. 672, 678, 112 S. Ct. 2701, 2705, 120 L. Ed. 2d 541
(1992). In these forums, speech may be excluded only when it is necessary to serve a compelling
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Fund, Inc., 473 U.S. 788, 800, 105 S. Ct. 3439, 3448, 87 L. Ed. 2d 567 (1985). Cambridge

Christian does not argue that the Stadium is a public or designated public forum. Instead, it

contends that if a forum analysis applies, the Stadium is a limited public forum, which is one where

the government has reserved “for certain groups or for the discussion of certain topics.” Walker

v. Tex. Div., Sons of Confederate Veterans, Inc., -- U.S. --, 135 S. Ct. 2239, 2250, 192 L. Ed. 2d

274 (2015) (quoting Rosenberger, 515 U.S. at 829).

       The FHSAA, by contrast, argues that the Stadium is a nonpublic forum. In a non-public

forum, the government “act[s] as a proprietor,” and “manag[es] its internal operations.” Walker,

135 S. Ct. at 2251 (quoting Int’l Soc. for Krishna Consciousness, Inc. v. Lee, 505 U.S. 672, 678-

79, 112 S. Ct. 2701, 120 L. Ed. 2d 541 (1992)). The government may restrict speech based on

content, but any restriction must be “reasonable and . . . not an effort to suppress expression merely

because public officials oppose the speaker’s view.” Cornelius, 473 U.S. at 800 (quoting Perry

Educ. Ass’n v. Perry Local Educators’ Ass’n, 460 U.S. 37, 45, 103 S. Ct. 948, 954, 74 L. Ed. 2d

794 (1983)). Additionally, “[t]he restrictions may ‘be based on subject matter and speaker identity

so long as the distinctions are reasonable in light of the purposes served by the forum and are

viewpoint neutral.’ ” Searcey v. Harris, 888 F.2d 1314, 1319 (11th Cir. 1989). Thus, regardless

of whether a forum is a limited public or non-public forum, viewpoint discrimination against

private speech is impermissible under the First Amendment. Id. at 1325.

       Based on the above, the first relevant inquiry is whether all speech over the loudspeaker of

the Stadium constitutes government speech, as was found by the Magistrate Judge. If it is not, and

the Stadium loudspeaker is instead a forum provided by the government, then the Court must




state interest, and the exclusion must be narrowly drawn to achieve the compelling state interest.
Id.
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address whether the forum is a non-public or limited public forum, and whether the denial of access

to the Stadium loudspeaker constituted viewpoint discrimination. Lee, 505 U.S. at 678 (explaining

that a “forum based” approach is used “for assessing restrictions that the government seeks to place

on the use of its property.”). For the reasons set forth below, the Court agrees with the Magistrate

Judge that the entirety of the speech over the Stadium loudspeaker was government speech and

that, even if it were not, the Stadium loudspeaker is a non-public forum. Therefore, the FHSAA

was permitted to deny Cambridge Christian’s request to use it to broadcast prayer during a school

sporting event organized and governed by a state entity.

                       a. Announcements Over The Stadium’s Loudspeaker Are Government
                          Speech.

       In certain situations, it may be “difficult to tell whether a government entity is speaking on

its own behalf or is providing a forum for private speech . . . .” Summum, 555 U.S. at 470. A

forum is distinguished from government speech because government speech is expression by the

government, and not simple provision of a forum. Walker, 135 S. Ct. at 2251. “The fact that

private parties take part in the design and propagation of a message does not extinguish the

governmental nature of the message or transform the government’s role into that of a mere forum-

provider.” Id.

       The United States Supreme Court’s decisions in Pleasant Grove City, Utah v. Summum, in

which the Supreme Court considered whether monuments donated by private parties and erected

in public parks were government or private speech, and Walker v. Texas Division, Sons of

Confederate Veterans, Inc., in which the Supreme Court examined whether specialty license plate

designs constituted government speech, are instructive. In Summum, a public park contained

several permanent displays, the majority of which were donated by private parties. 555 U.S. at

464. A religious organization, Summum, requested permission to erect a stone monument

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containing seven tenets of the religion in the public park. Id. at 465. The city denied the request

based on its then-unwritten policy to limit the monuments “to those that ‘either (1) directly relate

to the history of [the city], or (2) were donated by groups with longstanding ties to the [city’s]

community.’ ” Id. Summum argued that the monuments were private speech in a public forum,

whereas the city took the position that they were government speech to which the First Amendment

did not apply. Id. at 467. The Supreme Court held that the monuments were government speech

and, in doing so, considered the following factors: (1) that governments have historically used

monuments to speak to the public, even where the monuments are privately financed or donated;

(2) that people understand monuments in a public park to be government speech; and (3) that the

city had “ ‘effectively controlled’ the messages sent by the monuments in the Park by exercising

‘final approval authority’ over their selection.” Id. at 470-74.

       Subsequently, in Walker, the Supreme Court relied on the factors analyzed in Summum to

determine that messages on specialty license plates were government speech notwithstanding the

fact that private parties submitted the designs. Walker arose from Texas laws requiring all vehicles

to display a valid license plate, but allowing drivers to choose either a standard or specialty license

plate. 135 S. Ct. at 2244. Specialty license plates could be developed in several ways, and one

method allowed nonprofit entities seeking to sponsor a plate to submit an application and draft

design to the Texas Department of Motor Vehicles Board (“Board”), which would accept or reject

the application. Id. An application could be rejected for numerous reasons delineated by statute,

including that the proposed plate would be offensive to any member of the public. Id. at 2245.

       The Texas Division of the Sons of Confederate Veterans (“SCV”) submitted an application

and draft design, which included an image of the Confederate battle flag and the name Sons of

Confederate Veterans. Id. Also included on the proposed plate was the state’s name and



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silhouette. Id. After accepting public comments, the Board rejected the application because

members of the public found the design offensive. Id. The SCV filed a lawsuit claiming that the

rejection of its application violated the Free Speech Clause. Id.

       In concluding that the Free Speech Clause did not apply because the license plates were

government speech, the Supreme Court explained that in Summum it relied on several factors,

including the historical use of monuments, that the public would reasonably interpret the

monuments as conveying a government message, and the government’s control over the selection

of monuments. Walker, 135 S. Ct. at 2247. The Supreme Court then applied the same factors—

history, perception, and control—to the Texas specialty license plates. Id. at 2248-50. Because

license plates historically “communicated messages from the states,” id. at 2248; were identified

by the public as being connected with the state, id.; were issued and regulated by the state, and

essentially constituted a form of government identification, id. at 2248-49; and were directly

controlled and approved by the state, id. at 2249, they were government speech.

       Additionally, despite applying the same factors articulated in Summum, the Supreme Court

noted that other factors could come into play, and the relevant considerations should simply be

weighed together. Walker, 135 S. Ct. at 2249. Thus, for example, the Supreme Court noted that

in Summum it was persuaded in part by the permanent nature of the monuments, which did not

apply in Walker. Id. It distinguished this by explaining that the government speech in Summum

had occurred in what was a traditional public forum—a park—whereas the license plates were a

non-public forum and “government-mandated, government-controlled, and government-issued

IDs that have traditionally been used as a medium for government speech.” Id.at 2250-51.

       After the Supreme Court decided Walker, the Eleventh Circuit, in Mech v. School Board

of Palm Beach County, Florida, 806 F.3d 1070 (11th Cir. 2015), also evaluated whether speech



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was that of the government or of a private entity. In Mech, a school board adopted a program

allowing schools to hang banners on their fences that recognized sponsors for school programs.

Id. at 1072. In codifying the policy, the school district “recognize[d] that athletic sponsors and

other business partners provide a vital role in sponsorship of key programs,” which resulted in an

“increased need[] to visibly recognize these partners in the community.” Id. It stated, however,

that by allowing such banners, it was not creating a public forum for expressive activity, and did

not intend “to create a venue or forum for the expression of political, religious, or controversial

subjects which are inconsistent with the educational mission of the School Board or which could

be perceived as bearing the imprimatur or endorsement of the School Board.” Id. Moreover,

business partners were selected and approved by the individual schools, and any banners that

would be visible from the road were required “to use a uniform size, color, and font; to include a

message thanking the sponsor; and to forego photographs and large logos.” Id.

       A math tutor, who used the name “The Happy/Fun Math Tutor” applied to hang a banner,

complied with all the requirements, and was approved. Id. at 1072-73. However, several parents

discovered that the tutor previously worked as an actor in pornographic films and owned a

company that had produced pornographic films, and requested that the school remove the banners

for The Happy/Fun Math Tutor. Id. at 1072-73. The school did so, informing the tutor that his

connection to the pornography company, which used the same principal place of business and

mailing company as the tutoring company, “create[d] a situation that [wa]s inconsistent with the

educational mission of the [school district] and community values.” Id. at 1073. The math tutor

filed a lawsuit, claiming that the school board violated his First Amendment rights and that the

banners constituted private speech in a limited public forum. Id. at 1074. The school board argued




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that the banners were either government speech, or that their removal was reasonable and

viewpoint neutral. Id.

       After looking to the three factors considered by the Supreme Court in Summum and

Walker—history, endorsement, and control—the Eleventh Circuit concluded that the banners were

government speech. Id. at 1075-79. As to the history of banners, the Court determined that there

was no long history that the government has communicated to the public through them, a factor

weighing in favor of the math tutor, but which could be “overcome by other indicia of government

speech.” Id. at 1075. The endorsement factor, by contrast, strongly weighed in favor of the school

board. Id. at 1076. The Court noted that a school would not hang banners on their property for

long periods of time if they “contain[ed] ‘message[s] which the[ school] d[id] not wish to be

associated.’ ” Id. (quoting Summum, 555 U.S. at 471). Additionally, the banners on their face

identified the sponsors as being partners with the school, indicating a close relationship, and it was

likely that an observer would discern the banners as an endorsement by the school of the tutoring

services. Id. at 1076, 1078. The control factor also weighed in favor of concluding the banners

were government speech. Id. at 1078-79. As with the license plates in Walker, the schools in

Mech controlled the design, typeface, and color of the banners, and also dictated their size,

location, and content. Id. at 1078. Thus, the schools effectively controlled the messages in the

banners, and could choose how to present themselves to the community. Id. The simple fact that

the sponsors provided their logos, phone numbers, and web addresses did not alter the schools’

control or the governmental nature of the speech. Id.

       The Court in Mech was not persuaded by the math tutor’s argument that the banners were

essentially advertisements inviting the reader to do business with the sponsor and, therefore,

private speech. Id. at 1076. Notably, the banners were not like purely private advertising because



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they were printed in school colors, were required to comply with the schools’ uniform design

requirements, bore the initials of the school, and stated the sponsors were partners with the school.

Id. at 1077. This, together with the fact that the banners were formally approved by and marked

with the endorsement of the schools, distinguished them from private advertising. Id. The banners,

instead, were a means for the schools to recognize and thank their sponsors, and such “gestures of

gratitude” are common forms of government speech. Id. at 1077. Accordingly, the Eleventh

Circuit concluded that the banners were government speech to which the First Amendment did not

apply. Id. at 1079.

       The factors articulated in Summum and Walker, and applied by the Eleventh Circuit in

Mech, weigh in favor of the conclusion that speech over the Stadium’s loudspeaker is government

speech not subject to the First Amendment’s viewpoint restrictions.           At this stage in the

proceedings, there is little to no evidence of whether announcements broadcast over a loudspeaker

at a government-sponsored high school sporting event are historically government or private

speech. However, given that the FHSAA had previously allowed a school to broadcast a prayer

prior to such an event, the Court concludes that this factor weighs in favor of such speech being

private. Nonetheless, the remaining two factors—endorsement and control—weigh in favor of a

finding of government speech.

       The Public Address Protocol contemplates that announcements will be made by the public-

address announcer, who is a state actor. Cambridge Christian does not allege that the loudspeaker

was used during the championship game by anyone other than the public-address announcer, with

the exception of the music played for the half time performances. Halftime performance by either

a school band or cheerleading squad is contemplated by the FHSAA Administrative Procedures.

Doc. 8-1. Nothing in the Public Address Protocol contemplates that the loudspeaker will be open



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to indiscriminate use by the public or even the schools. Instead, the announcer is the only

individual identified by the Public Address Protocol, and he or she may only make those

announcements that are approved and contemplated by the Public Address Protocol. It is clear

that if the prayer was offered by the public-address announcer, this would be viewed as an

endorsement by the state, which would be impermissible. Santa Fe Indep. Sch. Dist. v. Doe, 530

U.S. 290, 308, 120 S. Ct. 2266, 2278, 147 L. Ed. 2d 295 (2000) (holding that a school policy

favoring broadcast of a religious message prior to sporting events would be perceived as state

approval of that message and violated the Establishment Clause).

       Cambridge Christian argues that it never requested the public address announcer to give

the prayer, but that it instead sought access to the loudspeaker so that a representative of either

school could pray over the loudspeaker. This, however, amounts to a request that the FHSAA

open its loudspeaker, which otherwise is not accessible to private parties, to allow for prayer to be

broadcast during a government controlled and hosted event. This would likewise be perceived as

state endorsement of Cambridge Christian’s religious message.

       Nor does the fact that the public-address announcer broadcasts messages submitted by

FHSAA sponsors alter the fact that speech over the loudspeaker is perceived as government

speech. The messages must first be approved by the FHSAA, and are made by a state actor. As

the Eleventh Circuit previously found in Mech, such “gestures of gratitude” by the state towards

program sponsors are a common form of government speech. 806 F.3d at 1077. Accordingly, the

endorsement factor weighs heavily in favor of the FHSAA.

       The control factor also weighs heavily in favor of the FHSAA.               For promotional

announcements, the public-address announcer was required to follow a pre-approved script.

Additionally, other than promotional announcements, the Public-Address Protocol specifically



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limits the types of announcements that the public-address announcer may make. Cf. Adler v. Duval

Cty. Sch. Bd., 250 F.3d 1330, 1337 (11th Cir. 2001) (noting that “[t]he ability to regulate content

of speech is a hallmark of state involvement.”). The Administrative Procedures specifically direct

that “all Florida High School State Championship Series shall be conducted in accordance with

the policies established by the Board of Directors and shall be under the direction and supervision

of the FHSAA Office.” Doc. 8-1.

       Moreover, the prayer would be broadcast during a school event in a program established

and controlled by the state. The Administrative Procedures for the FHSAA and the 2015 Florida

High School Athletic Association Football Finals Participant Manual demonstrate an overall

government control of the inter-scholastic athletic program and championship event. The FHSAA

Administrative Procedures and the Participant Manual outline, among other things, the eligibility

and registration procedures for students and schools, qualifications for coaches, what sports will

be recognized, how the games will proceed, how tickets to events may be obtained, where

spectators may sit, the duration of halftime shows, and what and by whom announcements may be

made. The entirety of the circumstances lead to the conclusion that speech over the loudspeaker

at the Stadium during the championship game was government speech. Therefore, the government

was not required to open its loudspeaker to allow Cambridge Christian to broadcast its prayer. Its

decision not to do so is not subject to the Free Speech Clause. Accordingly, Cambridge Christian

cannot state a claim under these constitutional provisions.

                      b. Even If The Speech Were Private, The Stadium Loudspeaker Is A Non-
                         Public Forum.

       As an initial matter, Cambridge Christian attempts to avoid the forum analysis by reliance

on Gilio ex rel. J.G. v. School Board of Hillsborough County, Florida, 905 F. Supp. 2d 1262, 1271

(M.D. Fla. 2012), in which this Court recognized that a forum analysis is not required in

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circumstances where the school has restricted a student’s speech during school hours on school

property.5 That is not the circumstance here. Here, the championship game is an extracurricular

activity that bears the imprimatur of the FHSAA.           Thus, a forum-analysis is appropriate.

Hazelwood Sch. Dist. v. Kuhlmeier, 484 U.S. 260, 270-71, 108 S. Ct. 562, 569-70, 98 L. Ed. 2d

592 (1988) (conducting a forum analysis and distinguishing school tolerance of speech from school

sponsorship of speech, which “concerns educators’ authority over school-sponsored publications,

theatrical productions, and other expressive activities that students, parents, and members of the

public might reasonably perceive to bear the imprimatur of the school.”).

       The Stadium loudspeaker is a non-public forum because the FHSAA has not opened it to

use for any purpose for the public. Any limited use by the cheerleading squads does not open it

up as a public forum because “selective access does not transform government property into a

public forum.” Perry Educ. Ass’n, 460 U.S. at 47; see also Lamb’s Chapel v. Ctr. Moriches Union

Free Sch. Dist., 508 U.S. 384, 390, 113 S. Ct. 2141, 2146, 124 L. Ed. 2d 352 (1993) (stating that

“there is no question” that a government entity “may legally preserve the property under its control

for the use to which it is dedicated.” (citing Cornelius, 473 U.S. at 800)).

       Cambridge Christian attempts to analogize this case to the limited public forum cases of

Rosenberger, 515 U.S. at 819, and Lamb’s Chapel, 508 U.S. at 384. In Rosenberger, the

University of Virginia denied funding to a student group that published a magazine that promoted

religious expression and fostered sensitivity to and tolerance of Christian viewpoints. 515 U.S. at

825-26. The magazine published articles on both religious and non-religious topics, such as



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  In circumstances involving tolerance of student speech within the school, the analysis delineated
in Tinker v. Des Moines Independent Community School District, 39. U.S. 503, 509, 89 S. Ct. 733,
738, 21 L. Ed. 2d 731 (1969), applies. Under Tinker, schools may not restrict speech on school
premises without reason to believe that the speech would “substantially interfere with the work of
the school or impinge on the rights of the other students.”
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racism, crisis pregnancy, stress, prayer, authors, homosexuality, missionary work, and eating

disorders. Id. at 826. The basis for the school’s denial of funding was its conclusion that, because

of the magazine’s religious perspective, providing funding would violate the Constitution. Id. at

827. The student activity fund, however, was a limited public forum that the school had created.

Id. at 830. The Supreme Court held that denial of funds to a magazine that provided a religious

perspective or standpoint on a variety of subjects constituted impermissible viewpoint

discrimination. Id. at 831.

       Similarly, in Lamb’s Chapel, a law allowed school properties to be used for limited

permitted purposes, including for social, civic, or recreational use, while the property was not in

use for school purposes. 508 U.S. at 386. However, the school property was not allowed to be

used by any group for religious purposes. Id. at 387. A church within a school community sought

to use school facilities to screen a film series by a licensed psychologist discussing his “views on

the undermining influences of the media that could only be counterbalanced by returning to

traditional, Christian family values instilled at an early stage.” Id. at 388. Its request was denied

based on the religious nature of the film series. Id.at 389. Because the school had opened the

property for social and civic use, it was not permitted to exclude speech on these topics based on

the viewpoint from which a private speaker wished to address such topics. Id.at 392-93. In holding

that the school improperly denied the church’s request, the Supreme Court explained that because

a lecture or film on the subject of child rearing and family values would be a social or civic use of

the property, the school was not permitted to exclude speech on those topics simply because it was

made from a religious viewpoint. Id. at 393-94. In other words, having opened the forum to these

topics, it could not exclude certain viewpoints within the scope of the limited public forum.




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       Unlike the government entities in Rosenberger and Lamb’s Chapel, which specifically

created forums where private entities could speak, the FHSAA did not allow speech over the

Stadium loudspeaker by anyone other than itself. The Stadium loudspeaker, therefore, remained

a nonpublic forum and the FHSAA was permitted to restrict speech over it based on content, as

long as any restriction was “reasonable and . . . not an effort to suppress expression merely because

public officials oppose the speaker’s view.” Cornelius, 473 U.S. at 800 (quoting Perry Educ.

Ass’n, 460 U.S. at 45).

       Despite the above, Cambridge Christian would have this Court accept its legal conclusion

that exclusion of prayer from the Stadium loudspeaker by the FHSAA was impermissible

viewpoint discrimination because religion is a viewpoint. During the hearing before the Magistrate

Judge, Cambridge Christian argued that the messages submitted by the FHSAA’s sponsors were

commercial speech, and that exclusion of its prayer—non-commercial speech—was viewpoint

discrimination. As an initial matter, this Court concluded that the messages as to the FHSAA

sponsors were government speech.        Regardless, exclusion of noncommercial speech where

commercial speech is permitted is a content-based restriction, not a viewpoint-based restriction.

KH Outdoor, LLC v. City of Trussville, 458 F.3d 1261, 1271 (11th Cir. 2006) (stating that a policy

that favored commercial speech over noncommercial speech was a content-based restriction).

Accordingly, Cambridge Christian has failed to plead that the FHSAA engaged in impermissible

viewpoint discrimination in violation of its rights under the Free Speech Clause of the First

Amendment.

       Accordingly, because the speech over the Stadium’s loudspeaker was government speech,

or, alternatively, was private speech in a nonpublic forum and Cambridge Christian’s prayer was




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not excluded based on its viewpoint, Counts I-II and IV-V fail to state a claim for violation of

Cambridge Christian’s rights to free speech.

               2.      The Free Exercise Clause

        To state a claim under the Free Exercise Clause, a plaintiff must allege that he or she has a

sincere religious belief, and that “the law at issue in some way impacts the plaintiff’s ability to

either hold that belief or act pursuant to that belief.” GeorgiaCarry.Org, Inc. v. Ga., 687 F.3d

1244, 1256-57 (11th Cir. 2012). In other words, the plaintiff must allege that the government

impermissibly burdened a sincerely held religious belief. Id. (citing Watts v. Fla. Int’l Univ., 495

F.3d 1289, 1294 (11th Cir. 2007)). Additionally, “[t]he Free Exercise Clause does not permit the

State to confine religious speech to whispers or banish it to broom closets.” Chandler v.

Siegelman, 230 F.3d 1313, 1316 (11th Cir. 2000) (Chandler II). In the school setting, “the State

[must] tolerate genuinely student-initiated religious speech,” but may cross the line to improper

state action if it “participates in or supervises the speech.” Chandler v. James, 180 F.3d 1254,

1258 (11th Cir. 1999) (Chandler I).

        The Magistrate Judge determined, and this Court agrees, that the Verified Amended

Complaint is devoid of any allegations that the FHSAA impacted Cambridge Christian’s ability to

hold or act pursuant to its sincerely held religious beliefs. Instead, the Complaint alleges that

Cambridge Christian and University Christian School were permitted to pray at the most central

location of the Stadium. Accordingly, the FHSAA did not banish Cambridge Christian’s religious

speech to broom closets, but freely permitted it to engage in its privately-initiated prayer without

restriction.

        Cambridge Christian, in its Objection, focuses on its desire to engage in communal prayer,

which it states is integral to its religious mission. It contends that the FHSAA and Magistrate



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Judge have “run[] roughshod over the Free Exercise Clause” by “decid[ing] what elements of a

religious practice are important [to Cambridge Christian] and which ones the government may

abridge.” Doc. 55 at 13. Nonetheless, the Verified Amended Complaint is devoid of any allegation

that the spectators were discouraged or prevented from engaging in prayer, or that Cambridge

Christian was in any way prevented from broadcasting its prayer through any method other than

use of the government-controlled loudspeaker. Thus, the Verified Amended Complaint, at most,

alleges that the manner of pursuing communal prayer was restricted, but not the ability to hold

communal prayer, as is required to state a claim under the Free Exercise Clause.

       Although Cambridge Christian relies on Lindh v. Warden, Federal Correctional

Institution, Terre Haute, Indiana, No. 2:09-cv-215, 2013 WL 139699 (S.D. Ind. Jan. 11, 2013),

that case is not comparable. In Lindh, a prison inmate had a sincerely held religious belief that

congregational religious prayer was mandatory, but the correctional facility banned communal

prayer. Id. at *6. In doing so, the warden did not indicate that he reviewed alternatives to a

complete ban, which had not always been in place, and there had not previously been any

problems. Id. at *7. Here, by contrast, there was no ban on communal prayer. Instead, the FHSAA

simply declined to sponsor Cambridge Christian’s prayer, which is not a violation of the Free

Exercise Clause. Chandler I, 180 F.3d at 1258. Accordingly, Counts I-II and IV-V fail to state a

claim under the Free Exercise Clause and the counterpart of the Florida Constitution.

               3.      The Establishment Clause.

       Under the Establishment Clause, the “government may not coerce anyone to support or

participate in religion or its exercise, or otherwise act in a way which ‘establishes a [state] religion

or religious faith, or tends to do so.’ ” Santa Fe, 530 U.S. at 302 (quoting Lee v. Weisman, 505

U.S. 577, 587, 112 S. Ct. 2649, 120 L. Ed. 2d 467 (1992). The Establishment Clause “prohibits a



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school district from taking affirmative steps to create a vehicle for prayer to be delivered at a school

function.” Chandler II, 230 F.3d at 1315.

        The Magistrate Judge recommended that Cambridge Christian’s Establishment Clause

claim be dismissed because Cambridge Christian does not allege that any Establishment Clause

violation has occurred. But Cambridge Christian seeks a declaration of whether its requested relief

of a content-neutral policy that does not discriminate against religious speech would violate the

Establishment Clause.      The Magistrate Judge correctly concluded that there is no actual

controversy as to this claim. Doc. 50 at 19-20. Instead, the Magistrate Judge recommended that

Cambridge Christian’s allegations as to the Establishment Clause were more appropriately

addressed in the context of its claims under the Free Exercise and Free Speech Clauses of the First

Amendment. Doc. 50 at 20. Cambridge Christian objects to this recommendation, stating that

“the Magistrate Judge erred by improperly conflating the Public Address Protocol with FHSAA’s

discriminatory decision to deny [Cambridge Christian] access to the loudspeaker . . . , which the

FHSAA admitted was based on the religious viewpoint [Cambridge Christian] intended to

express.” Doc. 55 at 14.

        Cambridge Christian’s Objection as to this claim simply highlights the Magistrate Judge’s

recommendation that it does not relate to the Establishment Clause, but instead is another claim

under the Free Exercise and Free Speech Clauses. Throughout its argument on this point,

Cambridge Christian relies either on cases alleging that an existing policy allowing for religious

speech violates the Establishment Clause, such as Santa Fe and Adler v. Duval County School

Board, 250 F.3d 1330 (11th Cir. 2001), or cases where an existing policy violates the Free Exercise

and Free Speech Clauses, such as Chandler II. Doc. 55 at 14-21. Indeed, in its Objection as to

this claim, Cambridge Christian addresses the Free Speech analysis of whether the speech is



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private or public. Doc. 55 at 21-22. This simply highlights that this case contemplates whether

Cambridge Christian can state a claim for violation of its Free Exercise and Free Speech Clause

rights. Accordingly, Cambridge Christian fails to state a claim entitling it to declaratory relief

based on the Establishment Clause, or Florida’s constitutional counterpart.

               B.      Florida’s Religious Freedom Restoration Act.

       Section 761.03(1) of the Florida Statutes, known as Florida’s Religious Freedom

Restoration Act, states as follows:

       The government shall not substantially burden a person’s exercise of religion, even
       if the burden results from a rule of general applicability, except that government
       may substantially burden a person’s exercise of religion only if it demonstrates that
       application of the burden to the person:
       (a)     Is in furtherance of a compelling governmental interest; and
       (b)     Is the least restrictive means of furthering that compelling governmental
       interest.

The statue also provides for a cause of action for violation of the Act. § 761.03(2). The Florida

Supreme Court examined the protection offered by the Act in Warner v. City of Boca Raton, 887

So. 2d 1023, 1032 (2004), and held that to state a claim under it, “a plaintiff must only establish

that the government has placed a substantial burden on a practice motivated by a sincere religious

belief.” It further defined what a “substantial burden” under the Act is, holding that “a substantial

burden on the free exercise of religion is one that either compels the religious adherent to engage

in conduct that his religion forbids or forbids him to engage in conduct that his religion requires.”

Id. at 1033.

       Applying this test, for example, this Court has previously held that the government placed

only a “significant” and not a “substantial” burden on a church for the homeless by requiring the

church to obtain a permit to use the park for an event involving a “large group feeding” and limited

such permits to two per year. First Vagabonds Church of God v. City of Orlando, Fla., No. 6:06-



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cv-1583-Orl-31KRS, 2008 WL 2646603, at *1-2. A Florida court has held that a law requiring a

Muslim woman to remove her veil for the photograph for her driver’s license “merely

inconvenienc[ed]” her religious beliefs, and did not substantially burden them. Freeman v. Dep’t

of Highway Safety & Motor Vehicles, 924 So. 2d 48, 57 (Fla. 5th DCA 2006).

       Cambridge Christian does not allege in its Verified Amended Complaint that by denying

it use of the loudspeaker, the FHSAA forbade it from engaging in conduct required by its religion.

Instead, it alleges that it was not allowed “to partake in its tradition of pre-game prayer over the

loudspeaker as required by its religious mission.” Doc. 8 ¶ 124. Cambridge Christian’s religious

mission is “[t]o glorify God in all that [it does]; to demonstrate excellence at every level of

academic, athletic, and artistic involvement; to develop strength of character; and to serve the local

and global community.” Doc. 8. ¶ 11. The allegations of the Verified Amended Complaint,

therefore, allege only that Cambridge Christian was denied its traditional method of advancing the

school’s mission during sporting events, and that the mission is a religious one. The mission itself,

however, is not a religious belief, nor is broadcasting a prayer over a loudspeaker. As previously

noted, the FHSAA did not prevent or discourage Cambridge Christian or the spectators at the

Stadium from praying, or from disseminating that prayer to all in attendance. Moreover, even if

denial of access to the loudspeaker did burden a religious belief of Cambridge Christian, such a

burden did not amount to a substantial one, but simply inconvenienced the belief, because

Cambridge Christian was not denied alternate means of engaging in communal prayer.

Accordingly, Cambridge Christian has failed to state a claim under Florida’s Religious Freedom

Restoration Act.




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               C.      The Motion for Preliminary Injunction.

       Injunctive relief may be granted only where the moving party demonstrates that “(1) it has

a substantial likelihood of success on the merits; (2) irreparable injury will be suffered unless the

injunction issues; (3) the threatened injury to the movant outweighs whatever damage the proposed

injunction may cause the opposing party; and (4) if issued, the injunction would not be adverse to

the public interest.” Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (citing McDonald’s

Corp. v. Robertson, 147 F.3d 1301, 1306 (11th Cir. 1998)). Because a preliminary injunction is a

drastic and extraordinary remedy, such relief will not be granted unless the moving party clearly

establishes the burden of persuasion of each of the four elements. Id. Indeed, should the moving

party fail “to show any of the four factors,” such failure “is fatal.” Am. Civil Liberties Union of

Fla., Inc. v. Miami-Dade Cty. Sch. Bd., 557 F.3d 1177, 1198 (11th Cir. 2009).

       The most important factor in the analysis of whether a preliminary injunction should be

granted is the first—whether the moving party establishes a likelihood of success on the merits.

Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1232 (11th Cir. 2005) (“The first of the four

prerequisites to temporary injunctive relief is generally the most important.”). This requires the

moving party to show that success is likely or probable, but not necessarily certain. Id. However,

the failure to meet this prong may defeat the moving party’s claim, “regardless of its ability to

establish any of the other elements.” Haitian Refugee Ctr., Inc. v. Christopher, 43 F.3d 1431 (11th

Cir. 1995) (citing Church v. City of Huntsville, 30 F.3d 1332, 1342 (11th Cir. 1994)). Here,

Cambridge Christian is not likely to succeed on the merits because the allegations of the Verified

Amended Complaint fail to state a claim. Instead, based on the allegations, this Court concludes

that the Establishment Clause was not implicated, and the FHSAA was not required by the Free




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Speech Clause, Free Exercise Clause, or Act to open the Stadium’s loudspeaker to Cambridge

Christian to allow it to broadcast prayer prior to the championship game.

        Cambridge Christian likewise has not established that it will be irreparably injured if the

preliminary injunction is not issued. To establish irreparable harm, the moving party must show

that the asserted injury is “neither remote nor speculative, but actual and imminent.” Siegel¸234

F.3d at 1176 (quoting Ne. Fla. Chapter of the Ass’n of Gen. Contractors v. City of Jacksonville,

896 F.2d 1283, 1285 (11th Cir. 1990)). Although “[t]he loss of First Amendment freedoms, for

even minimal periods of time, unquestionably constitutes irreparable injury,” Elrod v. Burns, 427

U.S. 347, 373 (1976), the allegations of the Verified Amended Complaint do not state a claim for

violation of any First Amendment rights. Thus, any future denial by the FHSAA to broadcast a

private prayer over a government-controlled sound system reserved for government speech will

not irreparably injure Cambridge Christian.

        Moreover, Cambridge Christian did not qualify for the championship game in 2016, and

there is no indication of whether its teams will qualify for the 2017 championship games.6 Because

of this, Cambridge Christian’s speculative injury, for which it has failed to state a First Amendment

claim, does not outweigh the potential harm to the FHSAA. Should the FHSAA be required to

open speakers it otherwise controls to indiscriminate use by member schools, it could likewise

open itself to lawsuits.

        Finally, the Court cannot determine that the injunction would not be adverse to the public

interest. FHSAA championship games are government organized and run events for school

students. While the Free Exercise Clause guarantees people the right to freely exercise their



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 The FHSAA Planning Calendar attached to the Verified Amended Complaint indicates that the
championship games for the 2016-17 year have occurred. Doc. 8-8. There are championship
games scheduled for the 2017-18 school year. Id.
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religion, others may not be coerced into participating in religious practices. Santa Fe, 530 U.S.

290 at 310-11. As the Supreme Court recognized in Santa Fe, “in a school context,” a request that

a believer may find to be reasonable “may appear to the nonbeliever or dissenter to be an attempt

to employ the machinery of the State to enforce a religious orthodoxy.” Id. at 312. Accordingly,

Cambridge Christian has not met its burden of persuasion as to the public interest factor.

       IV.     Conclusion

       While viewing the allegations of the Verified Amended Complaint in the light most

favorable to Cambridge Christian, it has failed to sufficiently allege any basis for relief. The Court

will, therefore, overrule Cambridge Christian’s objections and adopt the R&R.

       Accordingly, it is ORDERED AND ADJUDGED:

       1.      Plaintiff Cambridge Christian School, Inc.’s Objection (Doc. 55) to the Magistrate

               Judge’s Report and Recommendation (Doc. 50) is OVERRULED.

       2.      The Report and Recommendation of the Magistrate Judge (Doc. 50) is ADOPTED,

               CONFRIMED, and APPROVED in all respects and is made a part of this Order

               for all purposes.

       3.      Defendant’s Motion to Dismiss Plaintiff’s Verified Amended Complaint for

               Declaratory and Injunctive Relief and Incorporated Memorandum of Law in

               Support (Doc. 26) is GRANTED.

       4.      Plaintiff’s Motion for Preliminary Injunction and Incorporated Memorandum of

               Law In Support Thereof (Doc. 9) is DENIED.

       5.      Although the Court questions whether the deficiencies to its claims can be cured by

               amendment, the Court will allow Cambridge Christian one opportunity to amend

               its complaint to cure the deficiencies addressed in the Report and Recommendation



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              and in this Order. If Cambridge Christian chooses to file an Amended Complaint,

              it shall be filed on or before June 21, 2017. Failure to file an Amended Complaint

              within this time period will result in the dismissal and closure of this action without

              further notice.

       DONE AND ORDERED in Tampa, Florida on June 7, 2017.




Copies to:
Counsel of Record and Unrepresented Parties, if any




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